        Case 18-15383-amc              Doc 24 Filed 11/09/18 Entered 11/10/18 00:56:59                               Desc Imaged
                                            Certificate of Notice Page 1 of 3
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 18-15383-amc
Francis J. Valenza                                                                                         Chapter 7
Patricia A. Valenza
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: PaulP                        Page 1 of 1                          Date Rcvd: Nov 07, 2018
                                      Form ID: pdf900                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 09, 2018.
db/jdb         +Francis J. Valenza,   Patricia A. Valenza,   32 Mary Fran Drive,   West Chester, PA 19382-6380

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 09, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 7, 2018 at the address(es) listed below:
              KEVIN G. MCDONALD    on behalf of Creditor   Toyota Motor Credit Corporation
               bkgroup@kmllawgroup.com
              MICHAEL H KALINER    mhkaliner@gmail.com, pa35@ecfcbis.com
              MICHAEL H KALINER    on behalf of Trustee MICHAEL H KALINER mhkaliner@gmail.com, pa35@ecfcbis.com
              SHERRI DICKS    on behalf of Joint Debtor Patricia A. Valenza shrdlaw@hotmail.com,
               shrdlaw@outlook.com
              SHERRI DICKS    on behalf of Debtor Francis J. Valenza shrdlaw@hotmail.com, shrdlaw@outlook.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
                                                                                             TOTAL: 6
Case 18-15383-amc             Doc 24 Filed 11/09/18 Entered 11/10/18 00:56:59                      Desc Imaged
                                   Certificate of Notice Page 2 of 3

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                                Certificate of Notice Page 3 of 3


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